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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF MINNESOTA


       State of Minnesota by its Attorney
       General, Keith Ellison,                          Case No.: 0:22-cv-02694-JRT-JFD

                     Plaintiff,
                                                      ORDER REGARDING
             v.                                       PRODUCTION OF
       Fleet Farm LLC, Fleet Farm Group               ELECTRONICALLY STORED
       LLC, and Fleet Farm Wholesale                  INFORMATION AND PAPER
       Supply Co. LLC,                                DOCUMENTS

                     Defendants.


            This Order Regarding Production Of Electronically Stored Information And Paper
      Documents (“ESI Protocol Order”) shall govern the Parties in the above-captioned case
      whether they currently are involved or become so in the future, and any related actions that
      may later be consolidated with this case (collectively, the “Litigation”).

 I.          GENERAL PROVISIONS

             A.     Applicability: This ESI Protocol Order will govern the production of ESI
                    and paper documents.

             B.     Limitations & Non-Waiver: Nothing in this ESI Protocol Order shall be
                    construed to affect the admissibility of discoverable information. For the
                    avoidance of doubt, a Party’s compliance with this ESI Protocol Order will
                    not be interpreted to require disclosure of information potentially protected
                    by the attorney-client privilege, the work product doctrine, or any other
                    applicable privilege.

             C.     Authenticity and Admissibility: Nothing in this ESI Protocol Order shall
                    be construed to affect the authenticity or admissibility of any document or
                    data. All objections to the authenticity or admissibility of any document or
                    data are preserved and may be asserted at any time.

II.          GENERAL PRODUCTION FORMAT PROTOCOLS

             A.     TIFFs: Except for structured data, all production images will be provided
                    as a black-and-white, single-page Group IV TIFF of at least 300 DPI
                    resolution with corresponding multi-page text and necessary load files. Each
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     image will have a file name that is the unique Bates number of that image,
     pursuant to ¶ II(E). Original document orientation should be maintained to
     the extent reasonably practicable and technologically possible for a
     producing Party’s vendor (i.e., portrait to portrait and landscape to
     landscape). The imaged Data shall retain all attributes of the native or hard-
     copy file, such as document breaks. Documents that are difficult to render
     in TIFF because of technical issues, or any other documents that are
     impracticable to render in TIFF format, may be produced in their native
     format with a placeholder TIFF image stating “Document Produced
     Natively.” A producing Party retains the option to produce ESI in alternative
     formats if so agreed by the requesting Party, which may include native
     format, or a combination of native and TIFF formats.

B.   Text Files: Each ESI item produced under this ESI Protocol Order shall be
     accompanied by a text file as set out below. All text files shall be provided
     as a single document level text file for each item, not one text file per page.

     1.     OCR: A producing Party may make paper documents available for
            inspection and copying/scanning in accordance with FED. R. CIV. P.
            34 or, additionally or alternatively, scan and OCR paper documents.
            Even if OCR is used by a producing Party, however, the Parties
            acknowledge that, due to poor quality of the originals, not all
            documents lend themselves to the generation of accurate OCR.

     2.     ESI: Except for redacted documents, emails and other ESI will be
            accompanied by extracted text taken from the electronic file itself,
            where available. For redacted documents, Parties shall provide OCR
            text in accordance with the specifications in Section II.B(1).

C.   Production of Native Items: The Parties agree that ESI shall be produced
     as TIFF images consistent with the format described in section II.A. with an
     accompanying load file, which will contain, among other data points, the ESI
     data points listed in Appendix 1 hereto. The exception to this rule shall be
     spreadsheet-application files (e.g., MS Excel) and multimedia audio/visual
     files such as voice and video recordings (e.g., .wav, .mpeg, and .avi), for
     which all ESI items shall be produced in native format upon reasonable
     request. When producing the above file types in native format, the producing
     Party shall produce a single-page TIFF slip sheet indicating that a native item
     was produced. The corresponding load file shall include NativeFileLink
     information for each native file that is produced. Further, the Parties agree
     to meet and confer prior to producing native file types other than spreadsheet
     application files and multimedia audio/visual file types such as .wav, .mpeg
     and .avi.



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D.   Bates Numbering:

     1.     All images must be assigned a Bates number that must always: (1) be
            unique across the entire document production; (2) maintain a constant
            prefix and length (ten-digits and 0-padded) across the entire
            production; (3) contain no special characters or embedded spaces,
            except hyphens or underscores; (4) be sequential within a given
            document; and (5) identify the producing Party. To the extent
            reasonably practicable, the Bates number must also maintain
            consistent numbering across a family of documents.

     2.     The producing Party will brand all TIFF images at a location that does
            not obliterate or obscure any part of the underlying images.

E.   Parent-Child Relationships: Parent-child relationships (the association
     between an attachment and its parent document) that have been maintained
     in the ordinary course of business should be preserved to the extent
     reasonably practicable. For example, if a Party is producing a hard copy
     printout of an email with its attachments, the attachments should be
     processed in order behind the e-mail to the extent reasonably practicable. To
     the extent possible, document families that contain responsive information
     should be produced in full regardless of whether one or more documents
     within the family are non-responsive. Privileged documents within a parent-
     child relationship that are withheld should be identified with a placeholder
     TIFF image and identified in the Party’s privilege log, along with the family
     of documents for reference.

F.   Linked Files and Collaborative Work Environments. To the extent a
     producing party identifies links to other files within a responsive document,
     it will conduct a reasonable search for such files and attempt to add them to
     its document productions consistent with the final two sentences of this
     subsection. A receiving party may also make reasonable and proportionate
     requests as to specific linked files it identifies within produced documents,
     and upon such requests, the producing party shall conduct a reasonable
     search for the document corresponding with the link. If the producing party’s
     reasonable search is successful, it shall process and produce relevant
     documents corresponding with the link with reasonably available metadata.
     For documents produced pursuant to this Section, the producing party is not
     required to conduct any further search of documents corresponding with the
     links. The provisions of this Section apply to any type of document
     (including emails, presentations, spreadsheets, and other types of
     documents). For documents produced pursuant to this Section, the producing
     party shall produce DOC LINK metadata as defined in Sections D and E of
     this Appendix 1. Alternatively, for a document where an email has a

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         hyperlink to another document, the producing party may produce the email
         with the hyperlinked document as an attachment.

G.       Load Files: All production items will be provided with a delimited data file
         or “load file,” which will include both an image cross-reference load file
         (such as an Opticon file) as well as a metadata (.dat) file with the metadata
         fields identified below on the document level to the extent available. The
         load file must reference each TIFF in the corresponding production. The total
         number of documents referenced in a production’s data load file should
         match the total number of designated document breaks in the Image Load
         files in the production.

H.       Color: Documents or ESI containing color need not be produced initially in
         color. However, if an original document or ESI item contains color markings
         and it is necessary to see those markings in their original color to understand
         the meaning or content of the document, then the requesting Party may, in
         good faith, request that the document or ESI item be produced in its original
         colors. For such documents, the requesting Party shall provide a list of Bates
         numbers of the imaged documents sought to be produced in color. The
         production of documents and/or ESI in color shall be made in single-page
         JPEG format (300 DPI). All requirements for productions stated in this ESI
         Protocol Order regarding productions in TIFF format apply to any
         productions of documents and/or ESI in color made in such an alternative
         format. Requests that a document be produced in color for the reasons set
         forth in this ¶ II(I) will not be unreasonably denied by the producing Party.
         If a producing Party wishes to object, it may do so by responding in writing
         and setting forth its objection(s) to the production of the requested document
         in color.

I.       Confidentiality Designations: If a particular paper document or ESI item
         qualifies for confidential treatment pursuant to any applicable federal, state,
         or common law (e.g., Personally Identifiable Information or Protected Health
         Information), or to the terms of a Protective Order entered by the Court in
         the Litigation or a confidentiality stipulation entered into by the Parties, the
         designation shall be branded on the document’s image at a location that does
         not obliterate or obscure any part of the underlying images. This designation
         also should be included in the appropriate data field in the load file. For
         documents produced in native format with image placeholders, the
         placeholder image for the native file should be branded with the appropriate
         confidentiality designation to the extent possible. The designation should
         also be added to the native filename to the extent possible. Requesting parties
         shall ensure that the confidentiality claim follows the document regardless of
         whether the designation imprints on the file when viewed in printed form.


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            Failure to comply with the procedures set forth in this ESI Protocol Order,
            any protective order or confidential order, or any confidential stipulation
            shall not waive any protection or confidential treatment.

       J.   Production Media & Protocol: A producing Party may produce documents
            via email, readily accessible computer or electronic media, including CD-
            ROM, DVD, or external hard drive (with standard PC compatible interface)
            (“Production Media”), or via file-sharing service, including any network-
            based secure file transfer mechanism or SFTP. Any requesting Party that is
            unable to resolve any technical issues with the electronic production method
            used for a particular production may request that a producing Party provide
            a copy of that production using Production Media. The producing Party may
            encrypt Production Media and will provide a decryption key to the requesting
            Party in a communication separate from the production itself.

III.   PAPER DOCUMENT PRODUCTION PROTOCOLS

       A.   Scanning: A producing Party may make paper documents available for
            inspection and copying in accordance with FED. R. CIV. P. 34 or, additionally
            or alternatively, OCR paper documents. Where OCR is used, the Parties
            agree that the following ¶¶ III(B)-(E) shall apply.

       B.   Coding Fields: The following information shall be produced in the load file
            accompanying production of paper documents: (a) BegBates, (b) EndBates,
            (e) Custodian, (f) Confidentiality, and (g) Redacted (Y/N) or otherwise
            indicating that a redaction is present.

       C.   Unitization of Paper Documents: Paper documents should be logically
            unitized for production to the extent reasonably practicable. Generally, when
            scanning paper documents for production, distinct documents shall not be
            merged into a single record and single documents shall not be split into
            multiple records. The Parties will make reasonable efforts to unitize
            documents correctly.

            1.     Identification: Where a document, or a document group – such as
                   folder, clipped bundle, or binder – has an identification spine or other
                   label, the information on the label shall be scanned and produced as
                   the first page of the document or grouping.

IV.    ESI METADATA FORMAT AND PROCESSING ISSUES

       A.   System Files: ESI productions may be de-NISTed using the industry
            standard list of such files maintained in the National Software Reference
            Library by the National Institute of Standards & Technology as it exists at


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         the time of de-NISTing. Other file types may be added to the list of excluded
         files if they clearly do not have user-created content.

B.       Metadata Fields and Processing:

         1.     Time Zone: To the extent reasonably practicable, ESI items shall be
                processed using a consistent time zone (e.g., GMT), and the time zone
                used shall be disclosed to the requesting Party.

         2.     Except as otherwise set forth in this ESI Protocol Order, ESI files shall
                be produced with the data fields set forth in Appendix 1 that can
                reasonably be extracted from a document.

         3.     The Parties are not obligated to manually populate any of the fields in
                Appendix 1 if such fields cannot reasonably be extracted from the
                document using an automated process, with the exception of the
                following fields: (a) BegBates, (b) EndBates, (c) BegAttach,
                (d) EndAttach, (e) Custodian, (f) Confidentiality, (g) Redacted (Y/N),
                and (h) NativeLink fields, which should be populated regardless of
                whether the fields can be populated pursuant to an automated process.

C.       Redaction:

         1.     The Parties agree that, where ESI items need to be redacted, they shall
                be produced solely in TIFF format with each redaction clearly
                indicated. Any metadata fields reasonably available and unnecessary
                to protect the privilege protected by the redaction shall be provided.
                The Parties understand that for certain MS Excel documents or other
                file types or files, TIFF redactions may be impracticable. These
                documents may be redacted in native format and the Parties may meet
                and confer to evaluate effective approaches for implementing such
                redactions.

         2.     If the items redacted and partially withheld from production are
                audio/visual files, the producing Party shall, to the extent reasonably
                practicable, provide the unredacted portions of the content. If the
                content is a voice recording, the Parties shall meet and confer to
                discuss the appropriate manner for the producing Party to produce the
                unredacted portion of the content.

D.       Email Threading: The Parties may use email thread suppression to avoid
         review and production of information contained within an existing email
         thread in another document being reviewed and produced, but under no
         circumstances will email thread suppression eliminate (a) the ability of a


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     requesting Party to identify every custodian who had a copy of a produced
     document or email, or (b) remove from a production any unique branches
     and/or attachments contained within an email thread.

E.   De-duplication: A producing Party may de-duplicate any file globally (i.e.,
     across Document Custodians, see infra ¶ V(B)(1)) at the “family” level (i.e.,
     families should not be broken due to de-duplication). Each party may also
     de-duplicate emails in such a way as to eliminate earlier or incomplete chains
     of emails and therefore produce only the most complete iteration of an email
     chain. Additionally, all BCC recipients whose names would have been
     included in the BCC metadata field, to the extent such metadata exists, but
     are excluded because of horizontal/global de-duplication, must be identified
     in the BCC metadata field specified in Appendix 1 to the extent such
     metadata exists.

     1.     Duplicate electronic documents shall be identified by a commercially
            accepted industry standard (e.g., MD5 or SHA-1 hash values) for
            binary file content. All electronic documents bearing an identical
            value are a duplicate group. The producing Party is not obligated to
            extract or produce entirely duplicate ESI documents.

     2.     Duplicate messaging files shall be identified by a commercially
            accepted industry standard (e.g., MD5 hash values) for the email
            family, which includes the parent and email attachments. Duplicate
            messaging materials will be identified at a family level, including
            message and attachments. Email families bearing an identical value
            are considered a duplicate group.

F.   Zero-byte Files: The Parties may, but are not required to, filter out stand-
     alone files identified as zero-bytes in size that do not contain responsive file
     links or file names. If the requesting Party in good faith believes that a zero-
     byte file was withheld from production and contains information responsive
     to a request for production, the requesting Party may request that the
     producing Party produce the zero-byte file. The requesting Party may provide
     a Bates number to the producing Party of any document that suggests a zero-
     byte file was withheld from production and contains information responsive
     to a request for production.

G.   Embedded Objects: Microsoft Excel (.xls) spreadsheets embedded in
     Microsoft Word documents will be extracted as separate documents and
     treated like attachments to the document. The Parties agree that other
     embedded objects, including, but not limited to, logos, icons, emoticons, and
     footers, may be culled from a document set and need not be produced as



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               separate documents by a producing Party (e.g., such embedded objects will
               be produced within the document itself, rather than as separate attachments).

      H.       Compressed Files: Compression file types (i.e., .CAB, .GZ, .TAR, .7Z, and
               .ZIP) shall be decompressed in a reiterative manner to ensure that a zip within
               a zip is decompressed into the lowest possible compression resulting in
               individual folders and/or files.

      I.       Password-Protected, Encrypted, or Proprietary-Software Files: With
               respect to any ESI items that are password-protected or encrypted within the
               scope of review, the producing Party will take reasonable steps to identify
               the relevant password so that the documents can be reviewed and produced
               if appropriate.

V. CLAIMS OF PRIVILEGE AND REDACTIONS

 A.   Production of Privilege Logs: Except as provided otherwise below, for any
      document withheld in its entirety or produced but redacted, the producing Party will
      produce privilege/redaction logs in MS Excel format or any other format that
      permits electronic sorting and searching.

 B.   Exclusions from Logging Potentially Privileged Documents: The following
      categories of documents do not need to be contained on a producing Party’s
      privilege log, unless good cause exists to require that a Party do so.

      1.       Any communications exclusively between a producing Party and its outside
               counsel, an agent of the producing Party’s outside counsel other than the
               Party, any of the producing Party’s non-testifying experts in connection with
               specific litigation, or, with respect to information protected by Federal Rule
               of Civil Procedure 26(b)(4), the producing Party’s testifying experts in
               connection with specific litigation.

      2.       Any communications exclusively between attorneys in the Office of the
               Minnesota Attorney General or between attorneys in the Office of the
               Minnesota Attorney General and persons employed by or acting on behalf of
               the Office of the Minnesota Attorney General.

      3.       Any privileged materials or work product created by or specifically at the
               direction of a Party’s outside counsel, an agent of outside counsel other than
               the Party, any non-testifying experts in connection with specific litigation,
               or, with respect to information protected by Federal Rule of Civil Procedure
               26(b)(4), testifying experts in connection with specific litigation.

      4.       With respect to the Office of the Minnesota Attorney General, any privileged
               materials or work product created by or specifically at the direction of

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           attorneys in the Office of the Minnesota Attorney General or persons
           employed by or acting on behalf of the Office of the Minnesota Attorney
           General.

     5.    Any privileged documents or communications created after the filing of the
           Complaint.

C.   Privilege Log Requirements:

     1.    Metadata Log: To the extent applicable, each Party’s privilege log only
           needs to provide objective metadata (to the extent it is reasonably available
           and does not reflect privileged or protected information) and an indication of
           the privilege or protection being asserted.

           a.     Objective metadata includes the following (as applicable to the
                  document types as shown in Appendix 1):

                              i.   A unique privilege log identifier
                             ii.   Custodian
                           iii.    CustodianOther or CustodianAll (if applicable)
                            iv.    File Name
                             v.    Email Subject
                            vi.    Author
                           vii.    From
                          viii.    To
                            ix.    CC
                             x.    BCC
                            xi.    Date Sent
                           xii.    Date Received
                          xiii.    Date Created

           b.     In addition to the objective metadata fields, a Party must also include
                  a field on its privilege log entitled “Attorney/Description of Privileged
                  Material” if the basis for the privilege asserted is not apparent from
                  the objective metadata (e.g., the name of the attorney will be provided
                  if not included in the objective metadata). Further, for any document
                  withheld for which there is no objective metadata, a Party must
                  manually populate on its privilege log an author and date, unless such
                  information is not reasonably discernable from the document or the
                  information is not necessary to evaluate the claim of privilege in light



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                   of the metadata that is discernable and/or the information provided in
                   the Attorney/Description of Privileged Material field.

            c.     With respect to the “Email Subject” or “File Name” field, the
                   producing Party may substitute a description of the document where
                   the contents of these fields may reveal privileged information. In the
                   privilege log(s), the producing Party shall identify each instance in
                   which it has modified the content of the “Email Subject” or “File
                   Name” field.

            d.     Should a receiving Party, in good faith, have reason to believe a
                   particular entry on a metadata-generated privilege log is responsive
                   and does not reflect privileged discoverable information, the receiving
                   Party may request, and the producing Party will not unreasonably
                   refuse to create, a privilege log for that entry in compliance with
                   Federal Rule of Civil Procedure 26(b)(5).

     2.     Email Chains: If there is more than one branch of (i.e., more than one unique
            group of recipients of) an email thread, each branch will be individually
            logged; however, each individual email within the thread need not be logged
            if the recipients of the email chain are all identical or if a Party has elected to
            use threading for review and/or production of emails. A Party asserting
            privilege over a chain of emails may produce only a single redacted copy of
            such email chain consistent with ¶ VIII(D) below to the extent some portions
            are only partially privileged, except that any unique branches of the email
            chain must also either be produced in redacted form or included on the
            metadata privilege log.

D.   Documents Redacted for Privilege: Redacted documents need not be logged as
     long as (a) for emails, the objective metadata (i.e., to, from, cc, bcc, recipients, date,
     and time, unless the privilege or protection is contained in these fields) is not
     redacted, and the reason for the redaction, including the nature of the privilege
     asserted, is noted on the face of the document (for redacted documents where the
     subject matter is not decipherable as a result of redactions, a description of the
     contents of the document that is sufficient to understand the subject matter of the
     document may be requested); and (b) for non-email documents, the reason for the
     redaction is noted on the face of the document in the redacted area. The producing
     Party will undertake reasonable efforts to make limited, line-by-line redactions of
     privileged or work product information. After receipt of the production, the
     requesting Party may request in good faith that the producing Party create a privilege
     log for specific redacted documents, by Bates number.

E.   Challenges to Privilege Claims: Following the receipt of a privilege/redaction log,
     a requesting Party may identify, in writing (by Bates/unique identification number),


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        the particular documents that it believes require further explanation and the good-
        faith basis for such belief.

VI.     MISCELLANEOUS PROVISIONS

        A.    Variations or Modifications: Variations from this ESI Protocol Order may
              be required. Any practice or procedure set forth herein may be varied by
              agreement of all affected Plaintiffs and all affected Defendants, which will
              be confirmed in writing. In the event a producing Party determines that a
              variation or modification is appropriate or necessary to facilitate the timely
              and economical production of documents or ESI, the producing Party will
              notify the requesting Party of the variation or modification. Upon request by
              the requesting Party, those Parties will meet and confer to address any issues
              in a reasonable and timely manner prior to seeking Court intervention.


  SO ORDERED.

  Dated: September 13, 2023                      s/ John F. Docherty
                                                 JOHN F. DOCHERTY
                                                 United States Magistrate Judge




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